Case 20-10343-LSS   Doc 6384-2   Filed 09/28/21   Page 1 of 17




                    EXHIBIT B
                Case 20-10343-LSS              Doc 6384-2        Filed 09/28/21         Page 2 of 17




                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


In re:                                                          Chapter 11

BOY SCOUTS OF AMERICA AND                                       Case No. 20-10343 (LSS)
DELAWARE BSA, LLC,
                                                                (Jointly Administered)
                           Debtors.1
                                                                Re: D.I. 2618


               ORDER (I) SCHEDULING CERTAIN DATES AND DEADLINES IN
               CONNECTION WITH CONFIRMATION OF THE DEBTORS’ PLAN
                  OF REORGANIZATION, (II) ESTABLISHING CERTAIN
                  PROTOCOLS, AND (III) GRANTING RELATED RELIEF
            Upon the motion (the “Motion”) of Boy Scouts of America (“BSA”) and Delaware

    BSA, LLC, the non-profit corporations that are debtors and debtors in possession in the

    above-captioned chapter 11 cases (together, the “Debtors”), for entry of an order (i)

    scheduling certain dates and deadlines in connection with confirmation of the Plan and all

    related discovery, (ii) establishing the Protocols, and (iii) granting related relief, all as more

    fully set forth in the Motion; and the Court having jurisdiction to consider the Motion and the

    relief requested therein pursuant to 28 § 1334(b), and the Amended Standing Order of

    Reference from the United States District Court for the District of Delaware, dated February

    29, 2012; and consideration of the Motion and the requested relief being a core proceeding

    pursuant to 28 U.S.C. § 157(b)(2); and venue being proper before this Court pursuant to 28

    U.S.C. §§ 1408 and 1409; and due and proper notice of the Motion having been provided, and

    it appearing that no other or further notice need be provided; and this Court having held a



1
    The Debtors in these Chapter 11 Cases, together with the last four digits of Debtor’s federal tax identification
    number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The Debtors’ mailing
    address is 1325 West Walnut Hill Lane, Irving, Texas 75038.


DOCS_DE:236114.1 85353/002236114.6 85353/002                6
                Case 20-10343-LSS              Doc 6384-2        Filed 09/28/21          Page 3 of 17




    hearing to consider the relief requested in the Motion and other related issues; and the Court

    having determined that the legal and factual bases set forth in the Motion establish just cause

    for the relief granted herein; and it appearing that the relief requested in the Motion is in the

    best interests of the Debtors, their estates, creditors, and all parties in interest; and upon all of

    the proceedings had before the Court and after due deliberation and sufficient cause appearing

    therefor,

           IT IS HEREBY ORDERED THAT

           1.       The Motion is GRANTED as set forth herein. The schedule set forth below

    shall govern discovery and evidentiary presentations in connection with confirmation of the

    Plan and all related discovery (the “Confirmation Proceedings”) and the protocols set forth

    below shall govern discovery in connection with the Confirmation Proceedings (the

    “Protocols”).

           2.       Any party in interest that intends to participate2 in the Confirmation

    Proceedings (a “Proposed Participant”) must first file with the Court a notice indicating such

    intent (a “Notice of Intent”) at any time prior to the close of the Confirmation Proceedings, in

    accordance with the form attached to the Motion as Exhibit B. However, each Proposed

    Participant who then becomes a Participating Party must comply with and will be bound by all

    deadlines and other provisions set forth in the Confirmation Scheduling Order and shall not be

    allowed to reopen any deadlines that have already passed, absent (a) consent of the Debtors

    and other Participating Parties or (b) further order of the Court.




2
 As used herein, “participate” refers to participation in discovery, litigation, and presentation of evidence in
connection with the Confirmation Proceedings. For the avoidance of doubt, a party-in-interest who is not a
Participating Party shall have the right, absent further order of the Court, to be heard in connection with and at the
Confirmation Proceedings, but may not present evidence.


DOCS_DE:236114.1 85353/002236114.6 85353/002               6
               Case 20-10343-LSS               Doc 6384-2   Filed 09/28/21       Page 4 of 17




          3.       The Debtors and other Participating Parties shall, within five (5) days of the

 filing of any Notice of Intent, have the right to object to that Notice of Intent on any grounds,

 including, but not limited to, that the Notice of Intent is intended solely for purposes of

 harassment, was filed by persons that are not parties in interest within meaning of section 1109

 of the Bankruptcy Code, does not comply with the terms of the this Order, or does not

 demonstrate a legally cognizable interest in the Confirmation Proceedings. This shall be the

 only means by which the Debtors or other Participating Parties may challenge the Notice of

 Intent of a Proposed Participant; however, it shall be without prejudice to the Debtors’ or other

 Participating Parties’ rights to raise similar objections in other contexts, including, but not

 limited to, in connection with any specific discovery request or briefing. No Proposed

 Participant shall be deemed a Participating Party unless (a) no objection is filed within five (5)

 days of the filing of the Proposed Participant’s Notice of Intent or (b) if an objection to the

 Notice of Intent is filed, the Court overrules such objection.

          4.       Only a Proposed Participant who files a Notice of Intent, as to which no

 objection is timely filed or an objection is filed but is overruled by the Court, may take part in

 discovery, litigation, and presentation of evidence at or in connection with the Confirmation

 Proceedings (each such party, a “Participating Party”). The Participating Parties shall

 automatically include, without the need to file a Notice of Intent: (i) the Debtors, (ii) the U.S.

 Trustee, and (iii) the Mediation Parties.23 Each Participating Party will be bound by the terms



 23
   The Mediation Parties as defined shall include: (a) the Debtors; (b) the Ad Hoc Committee; (c) FCR; (d) the
 TCC; (e) the UCC; (f) the following insurers: The Chubb Group of Insurance Companies, The Hartford
 Companies, Allianz Global Risks US Insurance Company, National Surety Corporation, Liberty Mutual Insurance
 Company, and American International Group, Inc. Entities, Agricultural Insurance Company, Aspen Insurance
 Holdings, Limited, AXA XL Insurance, CNA Insurance Companies, General Star Indemnity Company, Markel
 Insurance Company, Arrowood Indemnity Company, Old Republic Insurance Company, Travelers Indemnity
 Company, Colony Insurance Company, Argonaut Insurance Company, Clarendon America Insurance Company,
 American Zurich Insurance Company, Maryland Casualty Company, Maryland American General Group, and


DOCS_DE:236114.1 85353/002236114.6 85353/002           6
                Case 20-10343-LSS              Doc 6384-2     Filed 09/28/21        Page 5 of 17




 of the Order Approving Confidentiality and Protective Order [D.I. 799] entered in these

 Chapter 11 Cases.

           5.       The following dates and deadlines shall govern discovery in connection with

  confirmation (such dates and deadlines, the “Confirmation Schedule”):

  Event                                                                                   Date
  Deadline to Serve Written Discovery                                                     September 27October
                                                                                          8, 2021
  Deadline to Serve Responses & Objections to Written Discovery                           October 118, 2021
  Including Legal and Factual Bases
  Parties to Meet and Confer re: Any Discovery Disputes                                   October 20, 2021 –
                                                                                          October 25, 2021
  Deadline for Requesting Parties to File Responsive Letter Briefs re: Any November 1, 2021
  Discovery Disputes
  Discovery Dispute Hearings                                                              November 8 – 12, 2021

  Document Production Substantially Complete and Deadline to Update                       October 20November
  Written Responses re: Status of Production                                              19, 2021
  Deadline to Complete Fact Depositions of Fact Witnesses by Zoom,    November
  Including Relating to Preliminary Voting Results                    4December 14, 2021
                                                                      – December 23, 2021
  Expert Reports Due                                                  November
                                                                      8December 17, 2021
  Rebuttal Expert Reports Due                                         November 17,
                                                                      2021January 14, 2022
  Deadline to Complete Expert Depositions of Expert Witnesses by Zoom November 24,
                                                                      2021January 21, 2022
  Deadline to Exchange Deposition Designations and File Motions in    December 1,
  Limine                                                              2021January 28, 2022
  Deadline to Exchange Deposition Counter-Designations                December 3,


 American General Fire & Casualty Company, Munich Re, Traders and Pacific Insurance Company, Endurance
 American Specialty Insurance Company, and Endurance American Insurance Company; (g) the Coalition; (h) JPM
 Chase Bank, N.A.; (i) the Corporation of the President of the Church of Jesus Christ of Latter-day Saints; (j) the
 United Methodist Ad Hoc Committee; (k) the Roman Catholic Ad Hoc Committee; (l) Catholic Mutual Relief
 Society of America; (m) the Episcopal Church; (n) the Domestic and Foreign Missionary Society of the Protestant
 Episcopal Church in the United States of America; (o) Roman Catholic Diocese of Brooklyn, New York; (p)
 Roman Catholic Archbishop of Los Angeles, a corporation sole; (q) Roman Catholic Diocese of Dallas, a Texas
 non-profit corporation; (r) Archdiocese of Galveston-Houston; (s) Diocese of Austin; (t) Zalkin Law Firm, P.C.;
 and (u) Pfau Cochran Vertetis Amala PLLC. See Amended Disclosure Statement for the Fifth Amended Chapter 11
 Plan of Reorganization for Boy Scouts of America and Delaware BSA, LLC [D.I. 2613] (the “Disclosure
 Statement”).


DOCS_DE:236114.1 85353/002236114.6 85353/002            6
                Case 20-10343-LSS              Doc 6384-2    Filed 09/28/21       Page 6 of 17




                                                                                       2021February 4, 2022
    Deadline to Submit Joint Pretrial Order, Witness and Exhibit Lists,                December 6,
    Oppositions to Motions in Limine, and for Objections to Deposition                 2021February 11,
    Counter-Designations                                                               2022
    Final Pretrial Conference                                                          [December 7],
                                                                                       20213February 23,
                                                                                       2022
    Confirmation Hearing                                                               December 9, 2021 at
                                                                                       10:00
                                                                                       February 28, 2022
                                                                                       at _:__ a.m.
                                                                                       (Eastern
                                                                                       Timetime)4

           6.       If a Participating Party fails to comply with any of the dates or deadlines set

    forth in the foregoing Confirmation Schedule, such failure shall be a waiver of the applicable

    event by such Participating Party. Notwithstanding anything in this Order, to the extent the

    Debtors substantively amend the Plan (including any associated documents) and/or enter into

    any settlements after any of the foregoing deadlines (a “Subsequent Change”), nothing

    herein shall prejudice any Participating Party from conducting discovery arising from or

    concerning such Subsequent Change (“Subsequent Discovery”) after the passage of any

    date or deadline contained within the Confirmation Schedule, nor shall it prejudice any

    Participating Party from seeking the adjournment of future dates or deadlines contained

    within the Confirmation Schedule.             Parties are highly encouraged to reach agreement

    concerning any Subsequent Discovery to avoid Court intervention.

           7.       Discovery of Debtors, Parties, and Third Parties. The Participating Parties

    are hereby authorized to serve confirmation-related discovery pursuant to Bankruptcy Rule




3
  Subject to the Court’s availability and approval.
4
  The Confirmation Hearing is being proposed to be held on December 9, 2021, at 10:00 a.m. (Eastern Time) and to
be continued to the extent necessary on December 10, December 13, December 14, and December 15, 2021 at 10:00
a.m. (Eastern Time).


DOCS_DE:236114.1 85353/002236114.6 85353/002            6
                Case 20-10343-LSS              Doc 6384-2   Filed 09/28/21   Page 7 of 17




  9014, including by seeking documents from the Debtors, other parties in interest, and any

  third parties. For the avoidance of doubt, no further motion practice is required prior to

  serving discovery under these Protocols.

           8.       Document Production.            The following provisions apply to requests for

  production of documents directed to any party (collectively, “Receiving Parties”) in

  connection with the Confirmation Proceedings:

                 a) Production Format Protocol. All documents and electronically stored
                    information (“ESI”) produced by any Receiving Party shall be produced in
                    conformance with the terms of the e-discovery protocol, attached hereto as
                    Appendix 1.

                 b) Document Discovery from Advisors. Each Receiving Party that is the
                    recipient of a request for the production of documents shall make reasonable
                    efforts to produce responsive and non-privileged documents on behalf of any
                    legal, financial, or industry advisor retained by such Receiving Party in
                    connection with these Chapter 11 Cases and/or under the Receiving Party’s
                    control, without the need for such advisor to be subpoenaed directly.

                 c) Assertions of Privilege. If any Receiving Party intends on withholding or
                    redacting any materials on the grounds of privilege, work product, or any
                    other type of protection or immunity from disclosure, the Receiving Party and
                    requesting Participating Party (the “Requesting Party”) shall meet and confer
                    on the scope and format of corresponding privilege logs, consistent with the
                    Protective Order in these Chapter 11 Cases. A Receiving Party shall provide
                    its initial privilege log(s) to all applicable Requesting Parties within seven (7)
                    calendar days after it substantially completes production of documents in
                    response to document requests.

           9.       7. Expert Testimony. No witness shall be allowed to give expert testimony in

  connection with the Confirmation Proceedings without timely, according to the above

  deadlines, submitting a report that satisfies the requirements of Fed. R. Civ. P. 26(a)(2)(B) and

  sitting for a deposition, which may be attended by any Participating Party. Any

  Participating Parties challenging such report. Such Participating Parties will meet and confer

  to determine the scheduling of and apportioning of questioning time during such depositions.




DOCS_DE:236114.1 85353/002236114.6 85353/002           6
              Case 20-10343-LSS                Doc 6384-2   Filed 09/28/21    Page 8 of 17




           10.      8. Discovery Disputes. Discovery disputes that In accordance with the

  Confirmation Schedule, Receiving Parties shall file and serve responses and objections to

  written discovery (a “Discovery Objection”), which shall contain all legal and factual bases

  upon which the Discovery Objection is based, on or before October 18, 2021. Between

  October 20, 2021 and October 25, 2021, parties shall meet and confer in good faith in an

  attempt to resolve any discovery dispute. If a discovery dispute cannot be resolved by the

  parties, the Requesting Party shall be filed with the Court onfile a letter briefs and onbrief

  responding to the Discovery Objection, with notice to all Participating Parties, on or prior to

  November 1, 2021. No letter brief shall exceed five (5) single-spaced pages and opposition

  letters shall be filed and served within three (3) days after service of any moving letter

  briefadditional filings with respect to a discovery dispute will be permitted absent further Court

  order.

           11.      Status Conferences.           The Court will hold status conferences with the

  Participating Parties on the following dates: [ • ], and any other such dates as the Court

  deems necessary.

           12.      9. Service. Within three (3) business days following the deadline to file

  Notices of Intent, the Debtors shall file with the Court a list of all Participating Parties and their

  attorneys (including e-mail addresses), which will be the official service list for discovery

  related to the Confirmation Proceedings. The Debtors shall amend the service list as necessary

  and will file such amended service lists with the Court. The Participating Parties agree toshall

  serve by e-mail on all other Participating Parties all discovery requests and written responses

  and other formal discovery papers that are not filed by e-mail on all other Participating Parties.

  If transmission of voluminous materials as an e-mail attachment is impractical, materials shall



DOCS_DE:236114.1 85353/002236114.6 85353/002           6
               Case 20-10343-LSS               Doc 6384-2   Filed 09/28/21   Page 9 of 17




  be posted on an FTP or data site and all Participating Parties shall be provided access to the

  materials.

           13.      10. Modifications. The Protocols, dates, and terms in this Confirmation

  Scheduling Order may be modified or waived by the consent of Debtors and any applicable

  Participating Parties without Court approval, except for any dates involving briefings or

  submissions to the Court, or any dates involving conferences or hearings with the Court,

  including but not limited to the following: the deadlines to submit the Pretrial Order, Witness

  and Exhibit Lists, Motions in Limine and Oppositions thereto, and for the Final Pretrial

  Conference.

           14.      11. Time Periods. All time periods set forth in this order shall be calculated in

  accordance with Bankruptcy Rule 9006(a).

           15.      12. The terms and conditions of this Order shall be immediately effective and

  enforceable upon its entry.

           16.      13. The Debtors are authorized to take all action necessary to effectuate the

  relief granted in this Order.

           17.      14. The Court shall retain jurisdiction to hear and determine all matters arising

  from or related to the implementation, interpretation, and/or enforcement of this Order.

           18.




DOCS_DE:236114.1 85353/002236114.6 85353/002           6
               Case 20-10343-LSS         Doc 6384-2     Filed 09/28/21    Page 10 of 17




                                             Appendix 1

                                             ESI Protocol

          This Protocol supplements the provisions of Federal Rules of Civil Procedure 16, 26, 33,

34, 37, and 45, and the Federal Rules of Bankruptcy Procedure, insofar as those Rules relate to

the production of documents and ESI. This Protocol shall supersede any instructions in Requests

for Production regarding the matters addressed herein.          To the extent that instructions in

Requests for Production conflict with this Protocol, the Protocol shall govern.

          All reasonable efforts will be taken to ensure that documents produced in this litigation

are formatted as follows:

          A.        Documents gathered from electronic data should be provided in the following

format:

               1.            TIFFs. The parties will produce all documents as Group IV single page

black and white TIFF format files imaged at 300 dpi. The Receiving Party will honor reasonable

requests made in good faith for either production of the original document for inspection and

copying or production of a color image of the document. In all cases the image must reflect how

the source document would have appeared if printed out to a printer attached to a computer

viewing the file. The Receiving Party will, however, instruct its vendor to disable Auto Date and

to enable and show hidden columns or rows, hidden worksheets, speaker notes, track changes

and comments.

               2.            Unique IDs. Each image should have a unique file name, which is the

Bates Number of the page. Bates Numbers shall be unique IDs with a prefix that can be readily

attributed to the Receiving Party. Bates Numbering should be sequential. If a Bates Number or

set of Bates Numbers is skipped in a production, the Receiving Party will so note.




DOCS_DE:236114.6 85353/002                          6
             Case 20-10343-LSS           Doc 6384-2        Filed 09/28/21    Page 11 of 17




              3.             Spreadsheets and Other Files in Native Format: All Excel files and other

files that cannot be reasonably reviewed except on a computer shall be produced in native

format. For these native or other format files, the Receiving Party will also provide a single page

placeholder referencing the native file with a Bates stamp for the file. The produced file should

be named with the Bates number of the first page of the corresponding TIFF production of the

document (e.g. “ABC0000001.xls”).

              4.             Database Load Files/Cross-Reference Files. Documents produced shall

be provided with (i) Concordance delimited load file(s) and (ii) Opticon delimited

cross-reference file(s). Every TIFF in each production must be referenced in the production’s

corresponding load file. The total number of images referenced in a production’s load file should

match the total number of TIFF files in the production. The database load file shall include a

reference to any native files that are produced.

              5.             Parent-Child Relationships.     “Parent-child” relationships (the

association between an e-mail and the attachments) should be preserved. The Receiving Party

shall produce email attachments sequentially after the parent email. The load files shall maintain

a cross reference between the parent and any children.

              6.             Requests for high-resolution or color documents.       The Receiving

Party agrees to respond to reasonable and specific requests for the production of higher

resolution or color images. Nothing in this Protocol will preclude a Receiving Party from

objecting to such requests as unreasonable in number, timing or scope, provided that a Receiving

Party will not object if the document as originally produced is illegible or difficult to read. The

Receiving Party shall have the option of responding by producing a native-file version of the

document. If a dispute arises with regard to requests for higher resolution or color images, the




DOCS_DE:236114.6 85353/002                           6
             Case 20-10343-LSS             Doc 6384-2    Filed 09/28/21    Page 12 of 17




requesting and Receiving Parties will meet and confer in good faith to try to resolve it.

              7.             Foreign language documents. All documents shall be produced in their

original language. Where a requested document exists in a foreign language and the Receiving

Party also has an English-language version of that document that it prepared for non-litigation

purposes prior to filing of the lawsuit, the Receiving Party shall produce both the original

document and all English-language versions. In addition, if the Receiving Party has a certified

translation of a foreign-language document that is being produced, whether or not the translation

is prepared for purposes of litigation, the Receiving Party shall produce both the original

document and the certified translation. Nothing in this Agreement shall require a Receiving

Party to prepare a translation, certified or otherwise, for foreign language documents that are

produced in discovery.

              8.             Text Files.   For each document, a document level text file should be

provided along with the TIFFs. If the document contains extractable text, the extractable text

should be provided. If the document does not contain extractable text, the Receiving Party shall

provide OCR for that document. The text files will not contain the redacted portions of the

documents. Text files for documents or pages containing redactions shall be produced no later

than five (5) business days after the production of the corresponding TIFFs.

              9.             Metadata Fields. The following metadata should be provided if it exists:

(a) all metadata as set forth in the table below; (b) metadata pertaining to time/date should be

maintained as it exists in the native file at the time of collection. The Receiving Party reserves

its rights to object to any request for the creation of metadata for documents that do not contain

metadata in the original.




DOCS_DE:236114.6 85353/002                           6
             Case 20-10343-LSS           Doc 6384-2     Filed 09/28/21     Page 13 of 17




                                              Metadata Fields
  Concordance                     Description
  BEGPRODBATE                     Beginning Bates or control number(w/Prefix)
  ENDPRODBATE                     Ending Bates or control number (w/Prefix)
  BEGBATESATT                     Beginning of attachment range for e-mails or attached documents.
  ENDBATESATT                     Beginning of attachment range for e-mails or attached documents.
  CUSTODIAN                       Custodian is generally the person who provided the information
  DOCTYPE                         Doctypes should be defined (can include coded information or
                                  electronically captured metadata).
  FILENAME                        Document file name
  FILETYPE                        File type of original document
  CREATEDATE                      Date created [MM/DD/YYYY]
  LASTMODDATE                     Date last modified [MM/DD/YYYY]
  SENTDATE                        Date sent [MM/DD/YYYY]
  SUBJECT                         Email subject line
  AUTHOR                          File author
  FROM                            Email author
  RECIPIENTS                      Choose one of these fields to contain recipient info for e-mails.
  CC                              Email carbon copies [Delimited list]
  BCC                             Email blind carbon copies [Delimited list]
  PAGES                           Total page count per document
  ATTACH_CNT                      Attachment count
  SENTTIME                        Sent Time
  FILEPATH                        Folder where files resided. File path may be a “Directory” for loose
                                  files or a “Folder” for emails.
  FILESIZE                        Document file size in bytes. For families of electronic documents,
                                  the “Contribution size” for each document may be provided instead
                                  of Filesize.
  NATIVE_PROD                     Location of native file in volume if provided (Native Link)
  LSTEDITBY                       Last Edited By
  LASTACCESSED                    Last Accessed By
  MD5HASH                         MD5HASH of Electronic Loose File or Attachments
  MESSAGEID                       Internet message identifier


              10.            De-duplication. The Receiving Party may de-duplicate ESI that is exact

and identical across all custodians’ ESI. The Receiving Party may use and rely in good faith on

reasonable electronic means of de-duplicating documents or files.

              11.            Native Format. With the exception of those spreadsheets discussed

above in Paragraph 3, the Receiving Party is not required to produce ESI in native format




DOCS_DE:236114.6 85353/002                          6
             Case 20-10343-LSS           Doc 6384-2     Filed 09/28/21    Page 14 of 17




without prejudice to the requesting party’s right to request the production of individual

documents in native format upon a showing of good cause. The requesting party must make

written request to the Receiving Party for the production of individual documents in native

format. The written request shall identify the individual documents by Bates number with an

explanation of good cause as to each individual document. A person receiving a written request

for production of a document in native format shall have fourteen (14) days after the request to

object. If the Receiving Party makes such an objection, the requesting party must meet and

confer with the Receiving Party to try to resolve the matter by agreement. If no agreement is

reached, the requesting party may file a motion seeking an order requiring the Receiving Party to

produce the requested documents in native format. The requesting party shall be solely

responsible for obtaining any software or hardware required to review electronic documents

produced in discovery, including in native format, so long as such software or hardware is

readily available to the public. To the extent such software or hardware is not readily available to

the public, nothing herein shall foreclose a requesting party from moving for an order to obtain

access to the software or hardware necessary to review electronic documents produced in

discovery. The foregoing is without prejudice to the Receiving Party’s right to produce audio and

video files in the format in which the files are maintained in the ordinary course of business.

Documents produced natively shall be represented in the set of imaged documents by a slipsheet

indicating the production identification number and confidentiality designation for the native file

that is being produced.

              12.            Databases. Certain types of databases are dynamic in nature and will

often contain information that is neither relevant nor reasonably calculated to lead to the

discovery of admissible evidence. Thus, a Receiving Party may opt to produce relevant and




DOCS_DE:236114.6 85353/002                          6
             Case 20-10343-LSS           Doc 6384-2     Filed 09/28/21    Page 15 of 17




responsive information from databases in an alternate form, such as a report or data table. These

reports or data tables will be produced in a static format. The Receiving Party agrees to identify

the specific databases, by name, that contain the relevant and responsive information.

        B.         Hard-copy documents that are produced, as opposed to being made available for

inspection and copying, should be provided in the format described in Sections A.1 – 7 and

should also be formatted as follows:

              1.             Unitizing of Documents. In scanning paper documents, distinct

documents should not be merged into a single record, and single documents should not be split

into multiple records (i.e., paper documents should be logically unitized). The Receiving Party

will make its best efforts to have its vendors logically unitize documents correctly and will

commit to address situations where there are improperly unitized documents.

              2.             Objective Coding Fields. The following objective coding fields should

be provided to the extent available: (a) beginning Bates number; (b) ending Bates number; (c)

beginning attachment Bates number; (d) ending attachment Bates number; (e) number of pages;

and (f) custodian.




DOCS_DE:236114.6 85353/002                          6
      Case 20-10343-LSS     Doc 6384-2   Filed 09/28/21   Page 16 of 17




Document comparison by Workshare 10.0 on Monday, September 27, 2021
10:35:44 PM
Input:
Document 1 ID       PowerDocs://DOCS_DE/236114/1
                    DOCS_DE-#236114-v1-BSA-_Debtors'_Confirmation_Pro
Description
                    cedures_Order
Document 2 ID       PowerDocs://DOCS_DE/236114/6
                    DOCS_DE-#236114-v6-BSA-_Debtors'_Confirmation_Pro
Description
                    cedures_Order
Rendering set       Standard

Legend:
Insertion
Deletion
Moved from
Moved to
Style change
Format change
Moved deletion
Inserted cell
Deleted cell
Moved cell
Split/Merged cell
Padding cell

Statistics:
                                      Count
Insertions                             156
Deletions                               39
Moved from                               1
Moved to                                 1
Style changes                            0
Format changes                           0
Total changes                          197
Case 20-10343-LSS   Doc 6384-2   Filed 09/28/21   Page 17 of 17
